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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                  CASE NUMBER:


 TEXKHAN, INC.                                                      2:19−cv−02850−DMG−JC
                                                  Plaintiff(s),

          v.
 EN CREME, et al.
                                                                    NOTICE TO FILER OF DEFICIENCIES IN
                                                Defendant(s).       ELECTRONICALLY FILED DOCUMENTS




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                                               Clerk, U.S. District Court

 Dated: July 10, 2019                          By: /s/ Andrea Kannike Andrea_Kannike@cacd.uscourts.gov
                                                  Deputy Clerk

 cc: Assigned District Judge and/or Magistrate Judge

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